






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00799-CR


NO. 03-02-00800-CR






Oscar Gomez, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 147TH JUDICIAL DISTRICT


NOS. 006134 &amp; 3012707, HONORABLE FRED A. MOORE, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Oscar Gomez appeals from two orders revoking community supervision.  In district
court cause number 006134, the conviction is for possession of cocaine and the sentence imposed
is two years' imprisonment.  In cause number 3012707, the conviction is for robbery and the
sentence is five years' imprisonment.

Appellant's court-appointed attorney filed a brief concluding that the appeals are
frivolous and without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738
(1967), by presenting a professional evaluation of the records demonstrating why there are no
arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State, 573
S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974);
Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex.
Crim. App. 1969).  A copy of counsel's brief was delivered to appellant, who was advised of his
right to examine the appellate records and to file a pro se brief.  No pro se brief has been filed.

We have reviewed the records and counsel's brief and agree that the appeals are
frivolous and without merit.  We find nothing in the records that might arguably support the appeals. 
Counsel's motion to withdraw is granted.

The orders revoking community supervision are affirmed.



				__________________________________________

				David Puryear, Justice

Before Justices Kidd, Patterson and Puryear

Affirmed

Filed:   October 2, 2003

Do Not Publish


